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AO 93 (Rev. 12/09) Search and Seizure Wan'ant (USAO CDCA Rev, 01/2013)

‘ _UNHED STATES DISTRICT COURT

for the _ .
Central Distn`ct of California ,

- NoTE cHAN_GE§.MAD§ BYTHECOU“T~
In the Matter of the Search of ` v v-

(Briejly describe the property to be searched

ar identzf' the person by name and address)
The subject property located at 1528 E. 41st Place, Los
Ange|es, California 90011, as described in Attachment A

Case No. 2:18-MJ-823

SEARCH AND SEIZURE WARRANT

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search

 

of the following person or property located in the Centra| District of Ca|ifomia
(identifjl the person or describe the property to be searched and give its Iocation):
See Attachment A

The person or property to be searched, described above, is believed to conceal ndemi]j) the person or describe the
property la be seized)!
See Attachment B

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
property. Such aHidavit(s) or testimony are incorporated herein by reference and attached hereto.

YOU ARE COMMANDED to execute this warrant on or before 14 days from the date of its issuance
(nol to exceed 14 days)

d inthe daytime 6:00 a.m_. to 10 p.m. ij at any time in the day or night as I find reasonable cause has been
established

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property
taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the
place where the property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to United States Magistrate Judge
on duty at the time of the return through a filing with the Cierk's Office.

(name)

ij I find that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 (except for delay
of trial), and authorize the officer executing this warrant to delay notice to the person Who, or whose property, will be
Searched Ol' SelZBd (check the appropriate box) g fO!' days (not to exceed 30).
Cl until, the facts justifying, the later specific date of

Date andtimeissued: q "L@ - 13 '3~`- as lp‘n/\

G\<r:`~\
J'u?§a ‘s dng

City and state: Los Ange|es, Ca|ifornia ` Hon. Alka Sagar

Printed name and title

AUSA: | W. ROLLlNS, x7407 l

 

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Page lD #: 39
AO 93 Bev. 12/09) Search and Ser`zure Wan'ant (Page 2)
Return
Case No.: »' . Date and time warrant executed: Copy of warrant and inventory left with:
2118-MJ~823 1 "{/q!lo\§’ V\<"\ diane /n~'»r\’-“'\O ~ir~?-“¢‘\\
lnvento)y made in the presence of.' . `
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Inventory of the property taken and name of any person(s) seized:

[Please provide a description that would be sufficient to demonstrate that the items seized fall within the items authorized to be
seized pursuant to the warrant (e.g., type of documents, as opposed to “miscellaneous doeuments”) as well as the approximate
volume of any documents seized (e.g., number of boxes). If reference is made to an attached description ofproperty, specify the
number of pages to the attachment and any case number appearing thereon.]

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Certi@ation (by officer presen§lurine the execution of the winant)

 

I declare under penalty of perjury that I am an ojicer who executed this warrant and that this inventory is correct and
was returned along with the original warrant to the designated judge through a filing with the Clerk’s O_#ice.

Date: Ll[‘ll?»°\§’ %
t Executing ojlcer ’s signature

YA Ti'\tcalw< Rv)n ll

Printed name and title

 

 

 

 

AUSA: l W. ROLL|NS, x7407 l

 

